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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNTIED STATES OF AMERICA,


              Plaintiff,                            Case No. 05-80722-2

v.                                                  Honorable Patrick J. Duggan

BRYAN KILLIAN,

              Defendant.
                                          /

                                         JUDGMENT

                           At a session of said Court, held in the U.S.
                              District Courthouse, Eastern District
                              of Michigan on September 10, 2009.

                   PRESENT: THE HONORABLE PATRICK J. DUGGAN
                            U.S. DISTRICT COURT JUDGE

       Defendant Bryan Killian has filed a motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255. For the reasons set forth in an Opinion and Order issued

this date,

       IT IS ORDERED, ADJUDGED, AND DECREED that the motion is DENIED

and DISMISSED WITH PREJUDICE.


                                                    s/PATRICK J. DUGGAN
                                                    UNITED STATES DISTRICT JUDGE

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